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                              Exhibit A
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF KINGS


          Ana Levy,                                               Index No.:
                                                                  Date Purchased:
                                   Plaintiff,
                                                                  SUMMONS
                                   v.
                                                                  Basis of Venue:
          Barclays Bank Delaware, Experian Information                CPLR §509: Venue designated by Plaintiff.
          Solutions, Inc. and Trans Union, LLC,                       CPLR §503(a): Plaintiff's principal place of
                                                                      residence
                                   Defendants.


          TO THE ABOVE-NAMED DEFENDANTS:

                YOU ARE HEREBY SUMMONED, to answer the complaint in this action and to serve
         a copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
         appearance, on the Plaintiff's Attorneys within 20 days after the service of this summons, exclusive
         of the day of service (or within 30 days after the service is complete if this summons is not
         personally delivered to you within the State of New York).

                YOU ARE HEREBY NOTIFIED THAT, should you fail to answer, a judgment will be
         entered against you by default for the relief demanded in the complaint.

         Dated: Garden City, New York
                April 1, 2022                          Yours, etc.,

         Defendants Addresses:
                                                           SANDERS LAW GROUP
          Barclays Bank Delaware
          100 S West Street.                               By: /s/ Alain Cesar
          Wilmington, Delaware 19801                       Alain Cesar, Esq.
                                                           100 Garden City Plaza, Suite 500
          Experian Information Solutions, Inc.             Garden City, NY 11530
          475 Anton Blvd.,                                 Office: 516-203-7612
          Costa Mesa, CA 92626                             Direct: 516-203-7600
          Registered Agent:                                Email: acesar@sanderslaw.group
          CT Corporation System                            File No.: 124280
          80 State Street,                                 Attorneys for Plaintiff
          Albany, NY 12207




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          Trans Union LLC
          555 W. Adams Street,
          Chicago, IL 60661
          Registered Agent:
          The Prentice-Hall Corporation System, Inc.
          80 State Street, Albany NY 12207




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF KINGS



           Ana Levy,
                                                                  Case No:
                                   Plaintiff,
                                                                  COMPLAINT
                                    v.
                                                                  JURY TRIAL DEMANDED
           Barclays Bank Delaware, Experian Information
           Solutions, Inc. and Trans Union, LLC,

                                   Defendants.


                 Plaintiff Ana Levy (“Plaintiff”), by and through the undersigned counsel, complains, states
          and alleges against Barclays Bank Delaware (hereinafter referred to as “Barclays” or “Furnisher
          Defendant”), Experian Information Solutions, Inc. (hereinafter referred to as “Experian”) and
          Trans Union LLC (hereinafter referred to as “Trans Union”) (Experian and Trans Union are
          hereinafter referred to as “CRA Defendants”) (collectively Furnisher Defendant and CRA
          Defendants are referred to as “Defendants”) as follows:


                                                 INTRODUCTION
                 1.     This action seeks to recover for violations of the Fair Credit Reporting Act (the
          “FCRA”), 15 U.S.C. §1681 et seq and New York Fair Credit Reporting Act, NY CLS General
          Business Law Section § 380 et seq (“NY FCRA”).
                 2.     This action is commenced against the CRA Defendants for reporting inaccurate
         and/or misleading information on Plaintiff's credit report in violation of §1681e(b) and for their
         failure to conduct a reasonable investigation into Plaintiff's disputes in violation of §1681i(a) after
         having received dispute letters from Plaintiff disputing the inaccurate reporting on Plaintiff's
         consumer reports.
                 3.     This action is commenced against the CRA Defendants pursuant to NY FCRA §
         380-F and for their failure to comply with the proper procedures for resolving disputes after a




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          consumer disputes an item and failure to promptly remove inaccurate and/or misleading
          information.
                 4.      This action is commenced against the Furnisher Defendant for violations of the Fair
          Credit Reporting Act under 15 U.S.C. §1681s-2(b) and for their failure to conduct a reasonable
         and/or good faith investigation into Plaintiff's notice of disputes and failing to delete, correct or
         block the inaccurate information.
                 5.      Plaintiff brings this action in order to recover inter alia, statutory damages,
         prejudgment and post-judgment interest, and reasonable attorneys' fees and expenses for injuries
         suffered as a result of Defendants' erroneous reporting of inaccurate and/or misleading information
         in Plaintiff's consumer background reports which caused a reduced credit score; reduced credit
         worthiness and reduced credit capacity.
                 6.      Furthermore, Defendants are also responsible for the cost in time and money
         associated with requesting credit reports, consulting with professionals regarding resolving this
         inaccurate reporting and submitting a dispute letter via certified mail.
                 7.      Plaintiff seeks to recover monetary damages for Defendants' violations of the
         FCRA and NY FCRA and to have an order issued by this court enjoining Defendants from
         persisting in its violative behaviors.
                                           JURISDICTION AND VENUE
                 8.      Under CPLR §§ 301 and 302, this Court has jurisdiction over the action in that
          Defendant conducts business in the State of New York and has purposely availed itself of the
          privilege of conducting business in the State of New York.
                 9.      Under CPLR § 503(a), venue is appropriate in Kings County since Plaintiff resides
          within Kings County and a substantial part of the events and omission giving rise to Plaintiff’s
          claim occurred within the Court’s jurisdiction.
                                                      PARTIES
                 10.     Plaintiff Ana Levy is an individual who is a citizen of the State of New York
          residing in Kings County, New York.
                 11.     Plaintiff is a (“consumer”) as defined by the FCRA, 15 U.S.C. § 1681a(c) and NY
         FCRA § 380-a(b).
                 12.     Defendant Barclays is a “furnisher of information” (hereinafter “Furnisher”) as
         contemplated by 15 U.S.C. § 1681s-2(b).



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                  13.       Defendant Barclays is a national banking association located in Delaware and has
          a principal place of business located at 100 S West Street. Wilmington, Delaware 19801. Barclays
          maintains offices and conducts substantial business in the State of New York and in this judicial
          district.
                  14.       Defendant Barclays is subject to this court’s personal jurisdiction in this judicial
          district.
                  15.       Defendant Experian is a consumer reporting agency (Hereinafter referred to as
          “CRA”) as defined under 15 U.S.C. 1681a(f) and NY FCRA § 380-A(e), that regularly conducts
          business in this judicial district.
                  16.       Defendant Experian has a principal place of business located at 475 Anton Blvd.,
          Costa Mesa, CA 92626, is registered to do business in the State of New York, and may be served
          with process upon CT Corporation System, its registered agent for service of process at 28 Liberty
          Street, New York, NY 10005.
                  17.       Defendant Experian by contractual agreement, disbursed consumer background
          reports for remuneration to third parties.
                  18.       Defendant Trans Union is a CRA as defined under 15 U.S.C. 1681a(f) and NY
          FCRA § 380-A(e), that regularly conducts business in this judicial district.
                  19.       Defendant Trans Union is an Illinois corporation which has a principal place of
          business located at 555 W. Adams Street, Chicago, IL 60661, is registered to do business in the
          State of New York, and may be served with process upon The Prentice-Hall Corporation System,
          Inc. it's registered agent for service of process at 80 State Street, Albany NY 12207.
                  20.       Defendant Trans Union by contractual agreement, disbursed consumer background
         reports for remuneration to third parties.
                  21.       Defendant Trans Union is subject to this court’s personal jurisdiction in this judicial
         district.

                                      SUBSTANTIVE ALLEGATIONS OF FCRA

                  22.       As described above, Congress enacted § 1681 et seq. of Title 15 of the United
          States Code, which § 1681 which states as follows:

                      (a)(1) The banking system is dependent upon fair and accurate credit reporting.
                      Inaccurate credit reports directly impair the efficiency of the banking system,



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                  and unfair credit reporting methods undermine the public confidence which is
                  essential to the continued functioning of the banking system.
                     (2) An elaborate mechanism has been developed for investigating and evaluating
                     the credit worthiness, credit standing, credit capacity, character, and general
                     reputation of consumers.
                     (3) Consumer reporting agencies have assumed a vital role in assembling and
                     evaluating consumer credit and other information on consumers.
                     (4) There is a need to insure that consumer reporting agencies exercise their
                     grave responsibilities with fairness, impartiality, and a respect for the consumer's
                     right to privacy.
          (Emphasis added).
                 23.       The FCRA mandates that CRAs adhere to the following twin duties: (i) to assure
          maximum possible accuracy of information when preparing consumer reports and to set up
          reasonable policies procedures to maintain compliance with this minimum reporting standard;
          and (ii) to reinvestigate the facts and circumstances surrounding a dispute by consumers and to
          appropriately and timely correct any inaccuracies, including by quickly notifying the furnisher
          and any other parties in the distribution chain of the disputed inaccuracies.
                 24.       CRAs compile, maintain, and report information concerning Plaintiff's
          creditworthiness, credit-standing, credit capacity, character, and general reputation.              That
          information is then made available for use by third parties in credit transactions involving
          consumers, for employment purposes, the underwriting of insurance for consumers, and even
          housing.
                 25.       Plaintiff has a legally protected interest in the Defendants fulfilling their duties
          under the FCRA so that the credit information being furnished and reported by them is maintained
          fairly with the maximum levels of confidentiality, accuracy, and relevancy.
                 26.       Plaintiff's injury is particularized and actual and is directly traceable to Defendants'
          conduct. The deprivation of Plaintiff's rights will be redressed by a favorable decision herein.


                                                  FACTUAL ALLEGATIONS
          Capital One Bank USA NA Account #:
                27.    Plaintiff Ana Levy had an outstanding charged off debt with Capital One Bank
          USA NA (Hereinafter referred to as “Capital One”) in the amount of $2,968.93.
                 28.       Plaintiff settled this debt with Capital One for $400.



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                  29.     This settlement resolved the debt in its entirety and nothing more is due and owing.
          As such, Plaintiff's credit reports should reflect that the debt is settled or paid off for less than the
          amount owed.
                  30.     After completing the settlement, Plaintiff caused a dispute letter to be sent to the
          CRA Defendants on or around December 1, 2021 via certified mail, informing them that the
          account was settled and now has a zero balance.
                  31.     Based upon United States Postal Service tracking, CRA Defendants received the
          FCRA dispute letter.
                  32.     Upon information and belief, within five business days of receipt, CRA Defendants
          forwarded the notice of dispute and all relevant information regarding the dispute to Capital One.
                  33.     More than thirty (30) days passed for CRA Defendants to investigate the FCRA
          dispute, Experian, Trans Union and Capital One continued to report the debt as unpaid with an
          outstanding balance.
                  34.     Since this debt was settled and paid off entirely, the reporting of a charged off
          balance and the failure to indicate that the debt is settled is inaccurate, misleading and violates the
          FCRA.
                  35.     Here, rather than updating the account to reflect as settled, CRA Defendants
          continued to report the account as having an outstanding balance of $1,529, which is inaccurate
          and misleading.
                  36.     Upon information and belief, CRA Defendants either failed to perform any
          investigation at all or performed an unreasonable investigation and erroneously verified the
          inaccurate account as accurate.
                  37.     In the alternative, upon information and belief, CRA Defendants failed to provide
          Capital One with the notice of dispute and all relevant information.
                  38.     Had CRA Defendants performed a reasonable investigation, the account at issue
          would have been modified to reflect the fact that it was settled with no remaining balance, or the
          tradeline would have been deleted entirely.
                  39.     As a result of CRA Defendants’ conduct in misreporting and failing to reasonably
          investigate the dispute and correct inaccuracies, Plaintiff has sustained a decreased credit score;
          decreased credit worthiness and credit capacity.




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                 40.     Furthermore, Experian and Trans Union are also responsible for the cost in time
          and money associated with requesting credit reports, consulting with professionals regarding
          resolving this inaccurate reporting and submitting a dispute letter via certified mail.


          Capital One Account
                 41.     Plaintiff had an outstanding charged off debt with Capital One in the amount of
          $6,555.30.
                 42.     Plaintiff settled this debt with Rubin & Rothman LLC (a debt collection agency
         retained by creditor Capital One) for $1,750.
                 43.     This settlement resolved the debt in its entirety and nothing more is due and owing.
         As such, Plaintiff's credit reports should reflect that the debt is settled or paid off for less than the
         amount owed.
                 44.     After completing the settlement, Plaintiff caused a dispute letter to be sent to the
         CRA Defendants on or around December 1, 2021 via certified mail, informing them that the
         account was settled and now has a zero balance.
                 45.     Based upon United States Postal Service tracking, CRA Defendants received the
         FCRA dispute letter.
                 46.     Upon information and belief, within five business days of receipt, CRA Defendants
         forwarded the notice of dispute and all relevant information regarding the dispute to Capital One.
                 47.     More than thirty (30) days passed for the CRA Defendants to investigate the FCRA
         dispute, but CRA Defendants continued to report the debt as unpaid with an outstanding balance.
                 48.     Since this debt was settled and paid off entirely, the reporting of a charged off
         balance and the failure to indicate that the debt is settled is inaccurate, misleading and violates the
         FCRA.
                 49.     Here, rather than updating the account to reflect as settled Experian and Trans
         Union continued to report the account as having an outstanding balance of $1,820, which is
         inaccurate and misleading.
                 50.     Upon information and belief, CRA Defendants either failed to perform any
         investigation at all or performed an unreasonable investigation and erroneously verified the
         inaccurate account as accurate.




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                  51.     Upon information and belief, CRA Defendants failed to provide Capital One with
          the notice of dispute and all relevant information.
                  52.     Had CRA Defendants performed a reasonable investigation, the accounts at issue
          would have been modified to reflect the fact that it was settled with no remaining balance, or the
          tradeline would have been deleted entirely.
                  53.     As a result of CRA Defendants’ conduct in misreporting and failing to reasonably
          investigate the dispute and correct inaccuracies, Plaintiff has suffered a decreased credit score;
          decreased credit worthiness and credit capacity.
                  54.     Furthermore, CRA Defendants’ are also responsible for the cost in time and money
         associated with requesting credit reports, consulting with professionals regarding resolving this
         inaccurate reporting and submitting a dispute letter via certified mail.


          Barclays Account
                  55.     Plaintiff had an outstanding charged off debt with Barclays in the amount of
          $3,657.03.
                  56.     Plaintiff settled this debt with Barclays for $1,462.81.
                  57.     This settlement resolved the debt in its entirety and nothing more is due and owing.
          As such, Plaintiff's credit reports should reflect that the debt is settled or paid off for less than the
         amount owed.
                  58.     After completing the settlement, Plaintiff caused a dispute letter to be sent to the
         Experian and non-party Equifax Information Services LLC (Hereinafter referred to as “Equifax”)
         on or around December 1, 2021 via certified mail, informing them that the account was settled and
         now has a zero balance.
                  59.     Based upon United States Postal Service tracking, Experian and Equifax received
         the FCRA dispute letter.
                  60.     Upon information and belief, within five business days of receipt, Experian and
         Equifax forwarded the notice of dispute and all relevant information regarding the dispute to
         Barclays.
                  61.     More than thirty (30) days passed for the Experian, Equifax and Barclays to
         investigate the FCRA dispute, but they continued to report the debt as unpaid with an outstanding
         balance of $2,194.



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                  62.     Since this debt was settled and paid off entirely, the reporting of a charged off
          balance and the failure to indicate that the debt is settled is inaccurate, misleading and violates the
          FCRA.
                  63.     Here, rather than updating the account to reflect as settled Experian and Barclays
          continued to report the account as having an outstanding balance of $2,194, which is inaccurate
          and misleading. Plaintiff did not make the settlement payment with the intent to merely pay down
          the debt, but intended to resolve it entirely.
                  64.     Upon information and belief, Experian and Barclays either failed to perform any
          investigation at all or performed an unreasonable investigation and erroneously verified the
          inaccurate account as accurate.
                  65.     In the alternative, upon information and belief, Experian failed to provide Barclays
          with the notice of dispute and all relevant information.
                  66.     Had Experian and Barclays performed a reasonable investigation, the account at
          issue would have been modified to reflect the fact that it was settled with no remaining balance, or
          the tradeline would have been deleted entirely.
                  67.     As a result of Experian and Barclays' conduct in misreporting and failing to
          reasonably investigate the dispute and correct inaccuracies, Plaintiff has experienced a decreased
          credit score; decreased credit worthiness and credit capacity.
                  68.     Furthermore, Experian and Barclays are also responsible for the cost in time and
          money associated with requesting credit reports, consulting with professionals regarding resolving
          this inaccurate reporting and submitting a dispute letter via certified mail.

                                               FIRST COUNT
                          CRA Defendants' Violations of the FCRA, 15 U.S.C. §1681e(b).
                  69.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                  70.     The CRA Defendants systemically violated 15 U.S.C. §1681e(b) by failing to
          adhere to, maintain and/or establish reasonable procedures to assure maximum possible accuracy
          in the preparation of Plaintiff's credit reports and credit files it published and maintained
          concerning the Plaintiff they published.
                  71.     Upon receipt of Plaintiff's disputes, the CRA Defendants were legally required to:
          (i) conduct a reasonable investigation or re-investigation into all the circumstances surrounding
          the dispute; and (ii) when and if appropriate, remove any inaccurate information following the


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          performance of the reasonable investigation. At a minimum, Trans Union was required to mark
          the status of the Capital One accounts as disputed on the consumer’s credit reports but failed to do
          so.
                 72.     Upon information and belief, the CRA Defendants' conduct in the instant matter is
          representative of their normal policies and procedures or lack thereof for maintaining accurate
          credit reporting.
                 73.     Upon information and belief, the Furnisher Defendants communicated information
          to the CRA Defendants that would have updated the tradelines to report accurately, but CRA
          Defendants failed to follow reasonable procedures to ensure maximum possible accuracy of the
          information in violation of §§ 1681e(b), by failing to process the communications and update the
          tradelines.
                 74.     In violation of §§ 1681e(b) and 1681(i), the CRA Defendants failed to follow
          reasonable procedures to ensure maximum possible accuracy of the information attributable to
          Plaintiff, by reporting inaccurate information in Plaintiff's consumer background report.
                 75.     Plaintiff disputed the inaccurate information and the CRA Defendants willfully,
          intentionally, recklessly and negligently failed to perform a reasonable investigation to remove the
          inaccurate information.
                 76.     As a result of the CRA Defendants' violations of 15 U.S.C. §1681, Plaintiff suffered
          actual damages which have been further described above in the statement of facts.
                 77.     In violation of § 1681o and § 1681n, the CRA Defendants' conduct was a direct and
          proximate cause of Plaintiff's injury.
                 78.     The CRA Defendants are liable to Plaintiff for their negligent and willful failures
          to follow reasonable policies and procedures.
                 79.     As a result of the CRA Defendants' violations of 15 U.S.C. §§ 1681e(b) and 1681i,
          Plaintiff suffered statutory and actual damages as described herein and is entitled to recover actual
          damages and punitive damages, pursuant to 15 U.S.C. §§ 1681n and 1681o.
                 80.     For the foregoing reasons, the CRA Defendants violated 15 U.S.C. § 1681e(b) and
          are liable to Plaintiff for actual damages, statutory damages, punitive damages, costs and attorney's
          fees in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and § 1681o.

                                             SECOND COUNT
                        CRA Defendants' Violations of the FCRA, 15 U.S.C. §1681i et seq.


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                 81.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.

                 82.     The CRA Defendants violated 15 U.S.C. § 1681i(a)(1) by failing to conduct
          reasonable reinvestigations to determine whether the disputed information was accurate and record
          the current status of the disputed information or delete the item from Plaintiff's credit report.
                 83.     The CRA Defendants violated 15 U.S.C. § 1681i(a)(1) by relying upon only a
          cursory review of basic information and deferring entirely upon the Furnisher Defendant and
          Capital One and merely parroting information received from the furnishers.
                 84.     The CRA Defendants violated 15 U.S.C. § 1681i(a)(2)(A) by failing to provide
          Furnisher Defendant and Capital One all of the relevant information regarding Plaintiff and his
          dispute.
                 85.     The CRA Defendants violated 15 U.S.C. § 1681i(a)(4) by failing to review and
          consider all relevant information submitted by Plaintiff regarding the dispute.
                 86.     The CRA Defendants violated 15 U.S.C. § 1681i(a)(5)(A) by failing to promptly
          delete the disputed inaccurate information from Plaintiff's credit file or correct the inaccurate
          information upon reinvestigation.
                 87.     Upon information and belief, CRA Defendants never: (i) contacted Plaintiff to
          follow up on, verify and/or elicit more specific information about Plaintiff's dispute; (ii) contacted
          any third parties that would have relevant information concerning Plaintiff's dispute; (iii)
          forwarded any relevant information concerning Plaintiff's dispute to Furnisher Defendant or
         Capital One; or (iv) requested or obtained any relevant documents from Furnisher Defendant or
         Capital One. As such, there is no evidence of a reasonable investigation being conducted.
                 88.     As a result of the CRA Defendants' violations of 15 U.S.C. §1681, Plaintiff suffered
         actual damages which have been further described above.
                 89.     The CRA Defendants' violations were willful because they had knowledge of the
         issue after receiving a detailed dispute letter and/or reckless disregard for the information provided
         in that dispute, rendering CRA Defendants individually liable for statutory and punitive damages
         in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.
                 90.     In the alternative, the CRA Defendants were negligent, which entitles the Plaintiff
         to recovery under 15 U.S.C. § 1681o.




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                 91.      For the foregoing reasons, the CRA Defendants violated 15 U.S.C. § 1681i and are
          liable to Plaintiff for actual damages, statutory damages, punitive damages, costs and attorney's
          fees in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and § 1681o.

                                                THIRD COUNT
                       Furnisher Defendant’s Violations of the FCRA, 15 U.S.C. §1681s-2(b)
                 92.      Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                 93.      At all times pertinent hereto, Barclays is a "person" as that term is defined by 15
          U.S.C. § 168la(b) and a "furnisher of information" to the credit reporting agencies.
                 94.      The Furnisher Defendant has a duty to provide accurate information to consumer
          reporting agencies, and to correct inaccurate information after receiving notice of a credit dispute
          directly from a consumer. See 15 U.S.C. § 1681s-2(a).
                 95.      The Furnisher Defendant has an obligation under 15 U.S.C. § 1681s-2(b) to
          investigate a dispute after receiving notice of the disputed item from a consumer reporting agency.
                 96.      The FCRA requires furnishers, after receiving notice from a credit reporting agency
          that a consumer disputes information that is being reported by that furnisher to conduct an
          investigation with respect to the disputed information, to review all relevant information, to report
          the results of the investigation to the credit reporting agency, and, if the investigation reveals that
          the information is incomplete or inaccurate, to report those results to all other credit reporting
          agencies to which the furnisher has provided the inaccurate information.
                 97.      On each occasion referenced in the above statement of facts where a dispute was
          sent to a CRA Defendants, upon information and belief, the CRA Defendants provided Furnisher
          Defendant the notice of dispute and all relevant information regarding the disputes.
                 98.      Upon information and belief, on each occasion referenced in the above statement
          of facts where a dispute was sent to CRA Defendants, Furnisher Defendant received the notice of
          dispute and all relevant information regarding the disputes.
                 99.      Upon information and belief, the Furnisher Defendant violated 15 U.S.C. § 1681s-
          2(b)(1)(A) by failing to fully, reasonably and in good faith investigate Plaintiff's disputes.
                 100.     The Furnisher Defendant failed to correct or remove the inaccurate information
          from the accounts and credit report and report those results to all other credit reporting agencies to
          which the furnisher has provided the inaccurate information.




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                  101.    Upon information and belief, the Furnisher Defendant’s conduct in the instant
          matter is representative of their normal policies and procedures in responding to disputes by
          providing only a cursory review of basic information and failing to investigate any further or
          failing to investigate and remediate any errors entirely.
                  102.    The Furnisher Defendant’s conduct violated § 1681s-2(b) by willfully and/or
          negligently failing to fully, properly and reasonably conduct an investigation of the inaccurate
          information that Plaintiff disputed.
                  103.    The Furnisher Defendant’s conduct violated § 1681s-2(b) by willfully and/or
          negligently failing to review all relevant information concerning Plaintiff's accounts as provided.
                  104.    The Furnisher Defendant’s conduct violated § 1681s-2(b) by willfully and/or
          negligently failing to report the results of its investigation of the inaccurate information to all credit
          reporting agencies.
                  105.    The Furnisher Defendant’s conduct violated § 1681s-2(b) by willfully and/or
          negligently failing to modify or delete incomplete or inaccurate information or information it
          cannot verify in Plaintiff's file after conducting an investigation;
                  106.    The Furnisher Defendant’s conduct violated § 1681s-2(b) by willfully and/or
          negligently failing to modify or delete inaccurate or incomplete information after conducting a
          reinvestigation.
                  107.    The Furnisher Defendant’s conduct violated § 1681s-2(b) by willfully and/or
          negligently failing to permanently block the reporting of the inaccurate information disputed by
          Plaintiff and continuing to report and furnish inaccurate or incomplete information in Plaintiff's
          file to credit reporting agencies.
                  108.    The Furnisher Defendant’s conduct violated § 1681s-2(b) by willfully and/or
          negligently failing to comply with all requirements imposed on "furnishers of information" by 15
          U.S.C. § 1681s-2(b).
                  109.    The Furnisher Defendant’s conduct was willful in that they had direct knowledge
          of the settlement agreement, were a party to that settlement, received payment for the settlement,
          and received FCRA dispute notices of the tradeline from the CRAs, but continued to report the
          tradeline inaccurately.




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                  110.    Alternatively, Furnisher Defendant exhibited a reckless disregard and unjustifiably
          high risk to the Plaintiff when they received the FCRA dispute and still failed to conduct a
          reasonable investigation and correct the credit reporting.
                  111.    The Furnisher Defendants is liable for statutory and punitive damages in an amount
          to be determined by the Court pursuant to 15 U.S.C. § 1681n.
                  112.    In the alternative, the Furnisher Defendant’s conduct was negligent, failing to
          exercise reasonable care when it failed to conduct a reasonable investigation, thereby entitling
          Plaintiff to recover under 15 U.S.C. § 1681o.
                  113.    For the foregoing reasons, the Furnisher Defendant violated 15 U.S.C. § 1681s-2(b)
          and is liable to Plaintiff for actual damages, statutory damages, punitive damages, costs and
          attorney's fees in an amount to be determined by the Court pursuant to § 1681n and § 1681o.

                                                 FOURTH COUNT
                                    CRA Defendants' Violations of the NY FCRA § 380
                  114.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                  115.    NY FCRA § 380-f(a) specifically provides that upon receipt of a consumer's
          dispute, a CRA promptly re-investigate and record the current status of such information and
          promptly notify the consumer of the result of its investigation, its decision on the status of the
          information and his rights pursuant to that section.
                  116.    In addition, NY FCRA § 380-f(b) specifically provides that when a “consumer
          reporting agency finds that an item is in error or that it can no longer be verified, it shall:
                  (1)     Promptly expunge the item and otherwise correct the file

                  (2)     Refrain from reporting the item in subsequent consumer reports,

                  (3)     Clearly and conspicuously disclose to the consumer his rights to make a request for
          notification and upon request of the consumer, promptly notify any person designated by the
          consumer who has received information regarding the item during the previous year that an error
          existed and shall furnish such person with corrected information…”

                  117.    Here, CRA Defendants duty to conduct a reasonable investigation was triggered
          upon each receipt of any dispute letter referenced in the statement of facts.




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                  118.     CRA Defendants failed to conduct a reasonable investigation and failed to promptly
          correct the tradeline of the accounts at issue.

                  119.     CRA Defendants also failed to provide the Plaintiff notice of their rights pursuant
          to NY FCRA § 380-f(b)(3).

                  120.     CRA Defendants' failure to adequately re-investigate these disputes despite being
          given the information constitutes a knowing or at a minimum a reckless disregard of their duties
          to Plaintiff.
                  121.     As such, the CRA Defendants' violations were willful, rendering them liable for
          punitive damages in an amount to be determined by the court and attorney's fees pursuant to NY
          FCRA § 380-L.
                  122.     At a minimum, CRA Defendants' conduct was negligent in that they failed to use
          reasonable care and diligence in their obligations to the consumer rendering them liable for actual
          damages and attorney's fees pursuant to NY FCRA § 380-M.
                  123.     As a direct result of the above violations of the NY FCRA by CRA Defendants,
          Plaintiff suffered a lower credit score, lower credit capacity, and the costs in time and money
          associated with obtaining credit reports and disputing these items with the consumer reporting
          agencies.

                  124.     As a result of the above violations of the NY FCRA, CRA Defendants are willfully
          and/or negligently liable to Plaintiff for actual damages, punitive damages, attorney's fees and
          costs pursuant to NY FCRA §§ 380-L and 380-M.

                                                     JURY DEMAND
                  125.     Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a trial
          by jury of all issues triable by jury.


                                                   PRAYER FOR RELIEF
                  WHEREFORE, Plaintiff respectfully requests judgment be entered against Defendants,
         as follows:
                       a   Adjudging that Defendants actions violated the FCRA and NY FCRA; and
                       b   An order enjoining Defendants from persisting in their violative behaviors;



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                  c   Granting Plaintiff actual damages against Defendants pursuant to 15 U.S.C. §§
                      1681n(a)(1)(A) and 1681o(a);
                  d   Granting Plaintiff statutory damages against Defendants pursuant to 15 U.S.C. §
                      1681n(a)(1)(A);
                  e   Granting Plaintiff punitive damages against Defendants pursuant to 15 U.S.C. §
                      1681n(a)(2);
                  f   Granting Plaintiff costs and reasonable attorney's fees against the Defendants
                      pursuant to 15 U.S.C. §§ 1681n(c) and 1681o(b).
                  g   Granting Plaintiff actual damages, punitive damages, attorney's fees and costs
                      pursuant to NY FCRA §§ 380-L and 380-M.
                  h   Awarding Plaintiff any pre-judgment and post-judgment interest as may be allowed
                      under the law; and
                  i   Such other and further relief as the Court determines is just and proper.


         DATED: April 1, 2022
                                                     SANDERS LAW GROUP

                                                     By: /s/ Alain Cesar
                                                     Alain Cesar, Esq.
                                                     100 Garden City Plaza, Suite 500
                                                     Garden City, NY 11530
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                                                     Email: acesar@sanderslaw.group
                                                     File No.: 124280
                                                     Attorneys for Plaintiff




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                                        VERIFICATION BY ATTORNEY

          STATE OF NEW YORK             )
                                        ) ss.:
          COUNTY OF NASSAU              )

                  I, Alain Cesar, an attorney duly admitted to practice law in the State of New York, hereby

          affirm under penalty of perjury: I am an attorney associated with Sanders Law Group, attorneys

          for Alain Cesar the plaintiff in the foregoing matter, with an office located at 100 Garden City

          Plaza, Suite 500, Garden City, NY 11530. I have read the foregoing Complaint and know the

          contents thereof, and that the same is true to my own knowledge, except as to the matters therein

          stated to be alleged upon information and belief, and that as to those matters I believe them to be

          true.



          DATED: April 1, 2022
          Garden City, New York

                                                               /s/ Alain Cesar
                                                               Alain Cesar, Esq.




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